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                     IN THE UNITED STATES DISTRICT COURT
                     FOR THE SOUTHERN DISTRICT OF TEXAS
                            BROWNSVILLE DIVISION

 UNITED STATES OF AMERICA                      §
                                               §
 V.                                            §       CRIMINAL NO. 1:12-CR-435-1
                                               §
 TOMAS YARRINGTON RUVALCABA                    §


                  JOINT MOTION FOR AMENDED JUDGMENT

       NOW COME, TOMAS YARRINGTON RUVALCABA, Defendant herein,

through his counsel Chris Flood, and the United States, through its counsel Assistant

United States Attorney James Sturgis, and file this Joint Motion for Amended Judgment.

       Mr. Yarrington was sentenced by this Court on March 15, 2023. Dkt. Nos. 203, 204.

At the sentencing, the Court and all parties agreed that Mr. Yarrington’s detention on this

matter began on April 9, 2017, when he was arrested in Italy. Ex. A, 12:11-20 (transcript

of sentencing). The date of Mr. Yarrington’s initial arrest was not reflected in the Court’s

written order. Dkt. No. 203. The Bureau of Prisons Designation & Sentence Computation

Center has not credited Mr. Yarrington’s time served from April 9, 2017, and indicated it

will not do so without a written statement from the Court that the arrest in Italy was

regarding this case. Ex. B (BOP sentence computation). Accordingly, the parties move the

Court to amend its written judgment to state that Mr. Yarrington was first arrested in this

matter on April 9, 2017. Ex. A, 12:11-20.

       Mr. Yarrington and the United States are not asking the Court to calculate his time

served, as that is the prerogative of the Bureau of Prisons. United States v. Wilson, 503
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U.S. 329, 333 (1992). The parties are also not asking the court to modify his sentence. The

parties move the Court only to amend its judgment to give the factual basis the time of his

initial arrest in this case as was stated during the sentencing hearing but was not included

in the Court’s written order. See Fed. R. Crim. P. 36 (permitting correction of an omission

in a written judgment “at any time”); United States v. Ramirez, 344 F.3d 247, 255 (2d Cir.

2003) (requiring written order to conform with oral sentencing pronouncement).

                                           Respectfully submitted,

                                          /s/ Chris Flood
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                                          ATTORNEY FOR DEFENDANT

                                          -and-

                                          UNITED STATES OF AMERICA

                                          /s/ James Sturgis*
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                                          ATTORNEY FOR THE UNITED STATES

                                          *E-signed with permission
                                          /s/ Chris Flood


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                           CERTIFICATE OF SERVICE

       I hereby certify that on November 21, 2023, I electronically filed the foregoing
document with the Clerk of Court using CM/ECF system which will send notification of
such filing to all filing users.


                                        /s/ Chris Flood
                                        Chris Flood




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